                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, et al.,

        Plaintiffs,
              v.
                                                  Civil Action
THE NORTH CAROLINA STATE BOARD OF
                                                  No. 20-cv-00457
ELECTIONS, et al.,

        Defendants,
                                                  DEFENDANT-INTERVENORS’
                                                  RESPONSE TO PLAINTIFFS’
and
                                                  MOTION FOR AFFIRMAIVE
                                                  RELIEF
PHILIP E. BERGER, in his official
capacity as President Pro Tempore of
the North Carolina Senate, et al.,

        Defendant-Intervenors.


                    Statement of Matter Before the Court

       Defendant-Intervenors      Philip     E.   Berger,   in    his   official

capacity as President Pro Tempore of the North Carolina Senate,

and Timothy K. Moore, in his official capacity as Speaker of the

North      Carolina      House    of       Representatives        (“Legislative

Defendants”), respectfully submit this Response to Plaintiffs’

October 5, 2020 Motion for Affirmative Relief (“Pls.’ Mot. for

Aff. Rel.”), (Doc. 156).

       In their Motion, Plaintiffs ask this Court to judicially

impose ten new rules for the casting of absentee ballots in North

Carolina for the ongoing election. Pls.’ Mot. for Aff. Rel. at 10–

13. Plaintiffs’ expansive request for relief is exactly the type

of   relief   the    Supreme   Court   counseled    against      in   Purcell   v.

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Gonzalez, 549 U.S. 1, 4–5 (2006) (per curiam). The continuing

vitality of Purcell cannot be doubted——just last night the Supreme

Court, without recorded dissent, stayed the District of South

Carolina’s   order,   entered   September   18,   2020,   preliminarily

enjoining the enforcement of the witness signature requirement for

absentee ballots. See Andino v. Middleton, No. 20A55, 2020 WL

5887393 (U.S. Oct. 5, 2020). As Justice Kavanaugh wrote, “[b]y

enjoining South Carolina’s witness requirement shortly before the

election, the District Court defied [the Purcell] principle and

this Court’s precedents.” Id. (Kavanaugh, J., concurring in grant

of application for stay). In other words, it was too late for a

federal court to order a wholesale change to South Carolina’s

election laws.

     So too here. In fact, Plaintiffs’ request comes even later.

Consequently, Purcell commands that their request be denied. See

id. Legislative Defendants respectfully request this Court deny

Plaintiffs’ Motion.

                         Statement of Facts

     Before voting in North Carolina began and a little over two

weeks after this Court’s August 4th Order, Doc. 124, the North

Carolina State Board of Elections issued the original Numbered

Memo 2020-19 (“August Memo”). See Ex. 3 to Pls.’ Mem. ISO Mot. to

Enforce Injunction (“Pls.’ Memo re Inj. Enforcement”), Doc. 148-

3, Numbered Memo 2020-19 at 1 (Aug. 21, 2020). The August Memo,
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consistent with this Court’s order, provided a cure procedure for

“those     ballots    with    a   material   error    that   is    subject      to

remediation.” Doc. 124 at 182. To that end, the August Memo divided

ballot deficiencies between those “subject to remediation” and

those that required spoilation. Two deficiencies would be subject

to cure by an affidavit by the voter: if the voter did not sign

the Voter Certification or if the voter signed in the wrong place.

See August Memo at 3. By contrast, several deficiencies still

required     spoilation,      principally    errors     related        to   ballot

witnesses or assistants. If the ballot witness or assistant did

not print her name, print her address, sign her name, or signed on

the wrong line, then the absentee ballot would be spoiled. See id.

The    reason   why   these   “deficiencies    [could    not]     be    cured   by

affidavit” was straightforward: “because the missing information

comes from someone other than the voter.” Id.

       The August Memo’s limited cure procedures were consistent

with this Court’s order and the continued application of North

Carolina’s duly enacted Witness Requirement. See Doc. 124 at 102.

After all, this Court upheld the Witness Requirement and did not

find failure to comply with it “subject to remediation.” Doc. 124

at 180. The General Assembly in an overwhelmingly bipartisan vote

had already modified the Witness Requirement for the 2020 election

because of the pandemic. See Bipartisan Elections Act of 2020,

2020 N.C. Sess. Laws 2020-17 § 1.(a). And the Witness Requirement,

                                       3



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as    N.C.    Bd.   of   Elections   (“NCSBE”)   itself   noted,   served   as

“[v]erification of the voter’s identity.” See August Memo at 2.;

see also See Ex. 1 to Leg. Defs.’ Mem. ISO Mot. for All Writs Act

Relief (“Leg. Defs.’ Mem.”), Doc. 155-1, Aff. Of Kimberly Westbrook

Strach (Sept. 30, 2020) (“Strach Aff.”).

       When NCSBE issued the August Memo, there were 14 days until

North Carolinians began casting Absentee Ballots on September 4,

2020 and 75 days until Election Day. Plaintiffs did not seek this

Court’s involvement to “fix” their alleged concerns with the August

Memo. In fact, three days after NCSBE issued the August Memo,

Plaintiffs filed a Motion for Reconsideration in this Court and

requested this Court “expand its injunction.” Pls.’ Mot. For

Reconsideration and Modification of Preliminary Injunction and

Brief in Support Thereof, Doc. 130 at 3. But Plaintiffs did not

seek changes to NCSBE’s cure processes in their Motion.

       Plaintiffs sent a letter to NCSBE on August 26, 2020——8 days

before absentee voting and 70 days before Election Day. See Ex. 4

to Pls.’ Memo re Inj. Enforcement, (Doc. 148-4). Plaintiffs asked

NCSBE for a variety of changes to the procedures for curing

deficient ballots, but notably Plaintiffs did not seek any changes

for    what    deficiencies    could   be   cured.   Plaintiffs    noted    the

importance of September 4, 2020, stating that “counties will start

mailing absentee ballots” then. Id. at 3.



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      As Plaintiffs note in their brief, the General Assembly met

for two days starting September 2, 2020. Because NCSBE had included

a cure process consistent with this Court’s preliminary injunction

order in the August Memo, there was no reason for the General

Assembly to take any further action on the subject. 1

      The beginning of absentee balloting came on September 4, 2020

with nary a word of complaint in this Court from Plaintiffs. Voting

has been in earnest in the month since. As of today (October 6,

2020), 386,300 absentee ballots have been cast and over 1,210,936

requested. Absentee Data, N.C. STATE BD.        OF   ELECTIONS (Oct. 6, 2020),

available at https://bit.ly/33BgC9y. That means since Legislative

Defendants’ filing yesterday, NCSBE indicates nearly 27,000 more

North Carolinians have cast their votes and nearly 20,000 more

requested their ballots. Simply put, North Carolina voters are at

the polls.



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 Plaintiffs’ contend that the August Memo did not “carry the weight of a law or
rule.” Pls.’ Mot. for Aff. Rel., at 18. But that is simply not the case. These
Numbered Memos are a “decades-old” procedure for how NCSBE instructs county
boards on election procedures. Exec. Defs.’ Resp., Doc. 151 at 11 (Oct. 2,
2020). According to NCSBE, if a county board fails to follow the NCSBE’s Numbered
Memos, then NCSBE has authority to remove the county board members for “non-
compliance with their duties.” See id. (citing N.C. GEN. STAT. § 163-22(c)).
Thus, county board members are obligated to follow NCSBE’s directives or else
lose their jobs. See Ex. 3 to Leg. Defs.’ Mem., Doc. 155-4, Decl. of Linda
Devore (Devore Decl.”) (“[W]e were to immediately begin following revised
Numbered Memo 2020-19’s guidance under threat of removal from office.”). These
Numbered Memos are rules in all but name. And, in any event, Plaintiffs
inexplicably did not seek to challenge these Numbered Memos as “not rules” until
their long-delayed filing. “Equity demands that those who would challenge the
legal sufficiency of administrative decisions concerning time sensitive public
. . . projects do so with haste and dispatch.” Quince Orchard Valley Citizens
Ass’n v. Hodel, 872 F.2d 75, 80 (4th Cir.1989). Plaintiffs did not act with any
dispatch.

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      Yet both NCSBE and Plaintiffs seek mid-election changes to

the rules governing this election. For its part, NCSBE issued a

revised Numbered Memo 2020-19 on September 22, 2020, without

prompting     from   this     Court   (and    unlawfully   as    Legislative

Defendants argue in Moore v. Circosta, No. 5:20-cv-507-D). Ex. A

to Defs.’ Not. of Filing, Doc. 143-1, Numbered Memo 2020-19 (Sept.

22, 2020) (“September Memo”). Contrary to the August Memo, the

September Memo changed course and explained that the same witness

requirement deficiencies that required an absentee ballot to be

spoiled pursuant to the August Memo could now be cured “by sending

the voter a certification” pursuant to the September Memo. Id. at

2; but see Strach Aff. at 36 (“The cure form does not provide any

of   the   safeguards   the    witness     requirement   provides.”).     This

eviscerates    the   duly-enacted     Witness   Requirement     because   “the

September 2020-19 memo’s voter certification cure applied to an

absentee ballot on which all witness information was missing.” Ex.

2 to Leg. Defs.’ Mem., Doc. 155-2, Order at 8 n.4, Moore v.

Circosta, No. 5:20-cv-507-D (E.D.N.C. Oct. 3, 2020) (“TRO Order”)

(Doc. 155-2). Notably, NCSBE attempted to effectively repeal the

witness requirement not when the General Assembly was in session

but only after the General Assembly had adjourned until January.

See North Carolina General Assembly, ncleg.gov.

      To add to the whiplash of mid-election rule changes, NCSBE

announced on October 4, 2020, that it was suspending the September

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Memo and the August Memo. See Ex. 3 to Leg. Defs.’ Mem., Doc. 155-

2, N.C. State Bd. of Elections, Numbered Memo 2020-28 at 1,

(emphasis added). This despite the fact that NCSBE just recently

instructed county board officials to comply with the September

Memo on pain of removal from office. See Ex. 3 to Leg. Defs.’ Mem.,

Doc. 155-4, Decl. of Linda Devore (Devore Decl.”) (“It was made

clear that to the extent we were not already doing so, we were to

immediately    begin    following     revised    Numbered      Memo   2020-19’s

guidance under threat of removal from office”). This last change

was not made voluntarily but in response to Judge Dever’s temporary

restraining    order    barring   NCSBE    from      enforcing    the    revised

Numbered Memo 2020-19. TRO Order at 19. Nothing in Judge Dever’s

order, however, restrains NCSBE from enforcing the August Memo,

and by putting a halt on all cure procedures, NCSBE is depriving

voters of the opportunity to learn about and correct deficiencies

in their ballots, whether by voting a new one for errors that

cannot be cured or submitting a certification for curable errors.

     For their part, Plaintiffs seek even further changes to North

Carolina     absentee   balloting.     Plaintiffs      ask    this    court   to

judicially    approve    at   least    part     of   the     September    Memo’s

evisceration of the witness requirement. Pls.’ Mot. for Aff. Rel.,

at 10 (“[P]ermit voters to cure deficiencies whereby . . . the

voter’s witness . . . did not print his or her address or signed

the container-return envelope on the wrong line.”). Plaintiffs

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seek to change the rules so that the voter need not take “further

action”——presumably meaning not even the affidavit required by the

September Memo——when a witness or assistant lists a “Post Office

box address” or “omits certain address information [that] can

otherwise be determined.” Id. at 11. And Plaintiffs seek further

changes to how county boards notify voters of errors through email

and phone calls, and Plaintiffs even seek “in person or remote[]”

contest hearings for “any voter whose ballot is deemed by the

county board of elections to be deficient such that it must be

rejected.” Id. at 13. With no apparent sense of irony, Plaintiffs

argue these are the “minimum” changes necessary. Id. at 10.

      North Carolinians are voting by mail now, early voting is in

9 days, and Election Day is in 28 days. Plaintiffs (and NCSBE as

explained in Legislative Defendants Motion for All Writs Act Relief

(“Leg. Defs.” Mot.”), Doc. 154; Leg. Defs.’ Mem., Doc. 155) are

seeking changes to North Carolina’s election procedures much too

late. Legislative Defendants respectfully request this Court deny

Plaintiffs’ Motion for Affirmative Relief.

                                  Argument 2

I.       Purcell Counsels this Court Should Deny Plaintiffs’ Motion

      The   Supreme   Court   “has   repeatedly     emphasized    that   lower

federal courts should ordinarily not alter the election rules on


2 Consistent with this Court’s order on October 5, 2020, (Doc. 153), Legislative

Defendants do not fully address the issues raised by Plaintiffs that are in


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the eve of an election.” Republican Nat’l Comm. v. Democratic Nat’l

Comm., 140 S. Ct. 1205, 1207 (2020) (per curiam). The Purcell

principle compels denial of the Plaintiffs’ Motion for Affirmative

Relief. See Andino, 2020 WL5887393 (Kavanaugh, J., concurring in

grant of application for stay).

         a. Late Election-Changing         Injunctive    Relief    Should    be
            Denied

      Late    “[c]ourt     orders    affecting      elections,     especially

conflicting orders, can themselves result in voter confusion and

consequent incentive to remain away from the polls.” Purcell v.

Gonzalez, 549 U.S. 1, 4–5 (2006) (per curiam). “As an election

draws closer, that risk that will increase.” Id. at 5. The risk is

especially pronounced when, as here, “absentee voting has been




dispute in Moore v. Circosta. However, it is worth mentioning here that
Plaintiffs’ novel arguments against the cognizability of the Equal Protection
claim in Moore are completely unsupported. In Moore, individual plaintiffs Heath
and Whitley assert that the NCSBE’s new Numbered Memoranda violate the one-
person, one-vote principle articulated in the Supreme Court’s jurisprudence
because these Memoranda allow for the counting of ballots that are unlawful
under North Carolina law. When it comes to “dilut[ing] the influence of honest
votes in an election,” whether the dilution is “in greater or less degree is
immaterial”; it is a violation of the Fourteenth Amendment. Anderson v. United
States, 417 U.S. 211, 226 (1974) (quotation marks omitted); see also Baker v.
Carr, 369 U.S. 186, 208 (1962). And with respect to Plaintiffs Bush v. Gore,
531 U.S. 98 (2000), Plaintiffs entirely miss the mark. Bush clearly indicates
that arbitrary treatment of ballots by different voters is an Equal Protection
violation. Id. at 105. And here, allowing voters to cast their ballots without
complying with the rules that were in place when Plaintiffs Heath and Whitley
voted is arbitrary and disparate. Under Bush v. Gore, that is unconstitutional.
Id.

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underway for many weeks.” Republican Nat’l Comm., 140 S. Ct. at

1207.

     Consider analogous litigation from this circuit in Andino. On

September    18,   2020,   the   district     court     issued    a     preliminary

injunction    that    enjoined   state      officials      from   enforcing    “the

Witness Requirement set forth in” South Carolina Code § 7-15-380.

Middleton v. Andino, No. 3:20-CV-01730-JMC, 2020 WL 5591590, at

*38 (D.S.C. Sept. 18, 2020). After a three-judge panel of the

Fourth Circuit granted a stay to the district court’s election-

changing injunction, the en banc Fourth Circuit vacated that

decision and left the district court’s preliminary injunction in

place. Middleton v. Andino, No. 20-2022, 2020 WL 5752607, at *1

(4th Cir. Sept. 25, 2020) (en banc). In dissent, Judge Wilkinson

and Judge Agee pointed out that the district court’s injunction

“disregard[ed]” the Supreme Court’s precedent in Purcell. Id.

(Wilkson, J., and Agee, J., dissenting from the grant of rehearing

en banc). After all, “the pandemic does not give judges a roving

commission    to     rewrite   state   election       codes.”     Id.    (internal

quotation marks omitted).

     The Supreme Court agreed. See Andino, 2020 WL5887393 at *1;

id. (Kavanaugh, J., concurring in grant of application for stay).

The Supreme Court, without recorded dissent, stayed the district

court’s     election-changing     injunction.         As     Justice     Kavanaugh

explained in his concurrence, “this Court repeatedly emphasized

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that federal courts ordinarily should not alter state election

rules in the period close to an election.” Id. (citing Purcell,

549 U.S. at 1.). And since the district court issued an election-

changing      injunction    on    September        18,    2020,     it   “defied    that

principle and [the Supreme] Court’s precedents.” Id.

     Plaintiffs’      request         for    an    additional       election-changing

injunction on October 5, 2020 a fortiori violates the Purcell

principle when a September 18, 2020 injunction does. See Andino,

2020 WL5887393. Similar to Andino, Plaintiffs seek to vitiate the

Witness Requirement in their Motion for Affirmative Relief. As the

General Assembly just enacted in June in the Bipartisan Elections

Act, all absentee ballots must be witnessed by at least one person.

See 2020 N.C. Sess. Laws 2020-17 § 1.(a). (Requiring a witness to

“sign[] the application and certificate as a witness and print[]

[her] name and address on the container-return envelope.”). The

August Memo was consistent with the Bipartisan Elections Act by

spoiling ballots that did not comport with these requirements. See

August Memo at 3. In their motion, Plaintiffs seek to get around

these strict witness requirements to allow voters to cure when the

witness does not print “his or her address” or signs in the wrong

place.   Pls.’     Mot.    for   Aff.       Rel.   at    10.   In   these   instances,

Plaintiffs seem to allow voters to serve as their own witnesses.

And going even further, Plaintiffs seek to not even require the

voter    to   do   anything      if   the    witness     does     not    provide   their

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residential address or “omit[s] certain address information but

can otherwise be determined.” Id. at 11. In these instances,

Plaintiffs seek this Court to order that no one needs to comply

with the General Assembly’s strict Witness Requirement.

     The Supreme Court has repeatedly rejected similarly late

election-changing requests by litigants. See, e.g., North Carolina

v. League of Women Voters of N.C., 574 U.S. 927 (2014) (staying a

lower court order that changed election laws thirty-three days

before the election); Husted v. Ohio State Conf. of the NAACP, 573

U.S. 988 (2014) (staying a lower court order that changed election

laws sixty days before the election); Veasey v. Perry, 135 S. Ct.

9 (2014) (denying application to vacate court of appeals’ stay of

district court injunction that changed election laws on eve of

election); Purcell, 549 U.S. at 3 (staying an October 5th lower

court order changing election laws twenty-nine days before the

election). “[W]hen a lower court intervenes and alters the election

rules so close to the election date . . . precedents indicate that

th[e] [Supreme] Court, as appropriate, should correct that error.”

Republican Nat’l Comm., 140 S. Ct. at 1207.

     And Plaintiffs’ own representations to this Court underscore

that this entire litigation proceeded on the understanding that

late election-altering relief is not permissible. During closing

arguments on July 22, 2020, counsel for Plaintiffs said, “[v]oters

in North Carolina need relief, and they need it as soon as

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possible.” Tr. of Evidentiary Hearing, Doc. 114 at 13. Why? Counsel

said   because   “Plaintiffs   can’t       come   into   court   in    August   or

September –– we can’t file a lawsuit in September and get relief.”

Id. at 24. Instead, late July was “the sweet spot” for changes to

election   rules.   Id.   at   207.   Not    heeding     their   own    implicit

recognition of the Purcell principle, Plaintiffs seek election-

changing relief anyway.

       Plaintiffs argue that Purcell is inapplicable because their

new election-changing request for relief is not late at all, but

rather somehow relates back to an effort to enforce this Court’s

August 4th order. Pls.’ Mot. for Aff. Rel. at 22–24. This is

entirely implausible. The August Memo setting forth the cure

procedures, required by this Court’s August 4th order, was issued

on August 21, 2020. Plaintiffs said nothing about it in this Court

until their September 30, 2020 filing, by which time 280,353 North

Carolinians had already voted. Absentee Data, N.C. STATE BD.                    OF

ELECTIONS (Sept. 30, 2020), available at https://bit.ly/2G3stnJ.

After all, if the new measures proposed by Plaintiffs truly were

required by the August 4th order, that would mean Plaintiffs waited

for over a month and the casting of hundreds of thousands of

ballots before notifying this Court. And it is not as though the

August Memo was not in effect—it was. See Aff. of Linda Devore ¶

19, N.C. Alliance for Ret. Amer., et al., v. N.C. St. Bd. of

Elections, No. 20 CVS 8881 (Wake Cnty. Super. Ct. Sept. 30, 2020),

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Doc. 155-5(stating that before September 22 the Cumberland County

Board   of   Elections   spoiled   ballots   with   witness   deficiencies

pursuant to the August Memo).

     Instead of seeking to effectuate this Court’s August 4th

order, Plaintiffs are seeking new election-changing relief during

an ongoing election. Purcell and the Supreme Court’s most recent

decision in Andino instruct their late election-changing request

should be denied. Instead, this Court should provide the narrow

relief requested by Legislative Defendants: maintain the status

quo ante under the General Assembly’s Bipartisan Elections Act and

the cure procedures provided by the August Memo. See Purcell, 549

U.S. at 4–5; Va. Soc’y for Human Life v. FEC, 263 F.3d 379, 393

(4th Cir. 2001).

        b. Plaintiffs’ Cited Authority Cannot Overrule Purcell

     Plaintiffs cite a number of pre-Purcell cases from the First

Circuit to argue that Purcell does not apply. For one, pre-Purcell

circuit cases provide little authority for how lower federal courts

should follow Supreme Court precedent post-Purcell. For another,

their relevance is not clear in any event. Take, for instance,

Rossello-Gonzalez v. Calderon-Serra, 398 F.3d 1 (1st Cir. 2004),

which addressed a post-election challenge to the “validity of

certain ballots that were cast.” Id. at 5. Purcell is a pre-

election standard to avoid “voter confusion” while they head to

the polls. Purcell, 549 U.S. at 4–5. A First Circuit decision about

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post-election review of the validity of ballots already cast does

not speak to Purcell or its animating concerns at all. Nor do

Plaintiffs’ other cited cases. See Bonas v. Town of N. Smithfield,

265 F.3d 69, 74 (1st Cir. 2001)(affirming a district court decision

to hold an election after defendant municipality sought to forego

election entirely); Partido Nuevo Progresista v. Perez, 639 F.2d

825, 828 (1st Cir. 1980)(holding that federal court should not

intervene in Puerto Rico election dispute).

       In all events, Plaintiffs’ pre-Purcell authority cannot be

read to overrule the Supreme Court’s clear line of cases since

Purcell that counsel federal courts to avoid election-changing

injunctive relief on the eve of or during voting. In addition to

Andino, the Supreme Court has reaffirmed as much with its decisions

just this year. See, e.g., Tex. Democratic Party v. Abbott, 961

F.3d 389, 412 (5th Cir. 2020) (staying injunction against Texas

absentee ballot restrictions), application to vacate stay denied,

140 S. Ct. 2015 (2020) (mem.); Thompson v. Dewine, 959 F.3d 804

(6th   Cir.   2020)   (staying   injunction   against   Ohio   initiative

signature requirements), application to vacate stay denied, No.

19A1054, 2020 WL 3456705 (U.S. June 25, 2020) (mem.); Republican

Nat’l Comm., 140 S. Ct. 1205 (mem.)(staying injunction against

requirement that absentee ballots be postmarked by election day);

Little v. Reclaim Idaho, 140 S. Ct. 2616 (July 30, 2020) (mem.);

Clarno v. People Not Politicians Or., No. 20A21, 2020 WL 4589742

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(U.S. Aug. 11, 2020) (mem.) (staying injunction against initiative

signature requirement); Merrill v. People First of Ala., No.

19A1063, 2020 U.S. LEXIS 3541 (U.S. July 2, 2020) (mem.) (staying

injunction against absentee ballot witness requirement). It is

hard to see what clearer message the Supreme Court could send to

instruct         lower   federal   courts    to   avoid   the   election-changing

relief requested by Plaintiffs.

       Simply put, the Supreme Court has kept rules the same during

voting. This Court should do the same.

            c. Following the Enacted Statutes of the General Assembly
               Best Prevents Voter Confusion

       Finally, Plaintiffs argue that, notwithstanding Purcell, this

Court should intervene to prevent voter confusion. Doc. 156 at 26-

27. But Purcell counsels the exact opposite.

       “[A] State legislature’s decision either to keep or to make

changes to election rules to address COVID–19 ordinarily ‘should

not    be    subject      to   second-guessing      by    an    unelected    federal

judiciary, which lacks the background, competence, and expertise

to assess public health and is not accountable to the people.”

Andino, 2020 WL 5887393, at *1 (Kavanaugh, J., concurring in the

grant       of     application     for   stay)(quoting         South   Bay   United

Pentecostal Church v. Newsom, 140 S.Ct. 1613, 1613-1614, (2020)

(Roberts, C. J., concurring in denial of application for injunctive

relief)). This comports with the Framers delegation of election


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regulation to state legislatures. See U.S. CONST. art. 1., § 4, cl.

1. Specifically, the Framers understood the regulation of federal

elections     to   be   an    inherently          legislative      act.   After    all,

regulating elections “involves lawmaking in its essential features

and most important aspect.” Smiley v. Holm, 285 U.S. 355, 366

(1932). And it comports with what the North Carolina General

Assembly did in the Bipartisan Elections Act. It is no surprise

then that Purcell complies with the Constitution’s judgment that

federal   courts    should         not    similarly      undertake    a   legislative

function and issue election-changing relief during an ongoing

election.

     Plaintiffs     argue     that       this    Court    should     issue     election-

changing relief to clear up confusion anyway. But the answer to

any voter confusion is not additional relief contrary to the

statutes enacted by the General Assembly. Instead, the answer is

for this Court to put an end to efforts by Plaintiffs and the NCSBE

(in the revised Numbered Memo 2020-19) to vitiate the clear rules

established before the election by the General Assembly and NCSBE

in the original August Memo. The answer “in view of the impending

election” and given the “necessity for clear guidance” to avoid

additional     “voter    confusion”         is    for    this   Court     to    decline

Plaintiffs’    request       for    yet    more    relief    and    return     election

procedures to those enacted by the General Assembly and in place

when voting started. See Purcell, 549 U.S. at 4, 7–8.

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     In short, Plaintiffs seek to use this Court’s August 4th order

as a license to change the rules in the middle of voting. Purcell

counsels that the election rules should be clear, consistent, and

established before voting starts. Consistent with the enactments

of the General Assembly and this Court’s August 4th order, these

rules were clear, consistent, and established by the August Memo

and Bipartisan Elections Act. Plaintiffs’ late-filed, statute-

vitiating changes would only serve to undermine the clarity of

those rules to the detriment of voters and contrary to Purcell.

                              Conclusion

     For the foregoing reasons, this Court should deny Plaintiffs’

Motion for Affirmative Relief.



Dated: October 6, 2020               Respectfully submitted,

/s/ Nicole J. Moss                   /s/ David H. Thompson
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for Defendant-Intervenors            Intervenors




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                      CERTIFICATE OF WORD COUNT
     Pursuant to Local Rule 7.3(d)(1), the undersigned counsel

hereby certifies that the foregoing Response to Plaintiffs’ Motion

for Affirmative Relief, including body, headings, and footnotes,

contains 4153 words as measured by Microsoft Word.

                                        /s/ Nicole J. Moss
                                        Nicole J. Moss




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                       CERTIFICATE OF SERVICE
     The undersigned counsel hereby certifies that on the 6th day

of October, 2020, she electronically filed the foregoing Response

to Plaintiffs’ Motion for Affirmative Relief with the Clerk of the

Court using the CM/ECF system, which will send notification of

such to all counsel of record in this matter.



                                        /s/ Nicole J. Moss
                                        Nicole J. Moss




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